Case 2:02-cV-02994-.]DB-STA Document 46 Filed 04/25/05 Page 1 of 2 Page|D 65

UNITED STA TES DISTRICT COURT F"'““ %(/
WESTERN DISTRICT OF TENNESSBEAPR 25 1'111:1: 1.
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PATRICIA HERRING, MARY KURYLO, JUDGMENT IN A CIVIL CASE
and GLORIA TAYL()R,
Plaintiffs,
v.
INTERNATIONAL PAPER COMPANY, CASE NO: 02-2994-B

ALL IP SEVERANCE PLANS and THOSE
PLANS’ ADMINISTRATOR, JEROME M. CARTER,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Coui't. The issues have
been considered and a decision has been rendered

IT IS S() ORDERED AND AD.IUDGED that in accordance With the Order Granting
Defendants’ Motion For .Iudgment ()n The Administrative Record, Denying Plaintiffs’ Motion
For Summary Judgment, And Dismissing Case entered on April 21, 2005, this cause is hereby
dismissed and judgment is entered in favor of the Defendants, International Paper Company,
All IP Severance Plans and Those Plans’ Administrator, Jerome M. Carter, and against the
Plaintiffs, Patricia Herring, Mary Kurylo, and Gloria Taylor.

P ()VED:

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J. ANIEL BREEN
ITED STATES DISTRICT COURT

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Date Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
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Honorable J. Breen
US DISTRICT COURT

